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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                                 TYLER DIVISION

                                          §
TEXAS MEDICAL ASSOCIATION, et             §
al.,                                      §
                                          §
        Plaintiffs,                       §
                                          §   Case No. 6:22-cv-372-JDK
v.                                        §
                                          §   Lead Consolidated Case
UNITED STATES DEPARTMENT OF               §
HEALTH AND HUMAN SERVICES,                §
et al.,                                   §
                                          §
        Defendants.                       §
                                          §

                                      NOTICE

         The Court has set the parties’ summary judgment motions for an in-

 person hearing on December 20, 2022, at 9:30 a.m. Any person interested in

 listening to the hearing may dial in to the telephone conference number and

 meeting ID listed below.


         Dial In Number: (571)353-2301

         Meeting ID: 158301863#


          So ORDERED and SIGNED this 7th day of December, 2022.



                                          ___________________________________
                                          JEREMY D. KERNODLE
                                          UNITED STATES DISTRICT JUDGE
